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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


     IN RE: JOHNSON & JOHNSON TALCUM                MDL No. 16-2738 (MAS) (RLS)
     POWDER PRODUCTS MARKETING,                     JUDGE MICHAEL A. SHIPP
     SALES PRACTICES, AND PRODUCTS                  MAG. JUDGE RUKHSANAH L. SINGH
     LIABILITY LITIGATION
     THIS DOCUMENT RELATES TO:
     GERALDINE KELLY,                               Civil Action No. 3:19-cv-08494

                   Plaintiff(s),
     v.                                             RESPONSE TO AUGUST 15, 2024
                                                    ORDER TO SHOW CAUSE (DKT.
     JOHNSON & JOHNSON and JOHNSON &                33096)
     JOHNSON CONSUMER INC.

                   Defendants.




          Sara Beth Craig of Peiffer Wolf Carr Kane Conway & Wise, LLP, counsel of record for

  Plaintiff Travis Robert Kelly, Executor of the Estate of GERALDINE KELLY, submits the

  following Response to the Court’s August 15, 2024 Order to Show Cause Why Cases on the

  Attached Exhibit A Should Not Be Dismissed With Prejudice (Dkt. 33096).

          On March 13, 2019, a Short Form Complaint was directly filed on behalf of Plaintiff

  Geraldine Kelly in MDL No. 2738. Pursuant to the September 1, 2023 Amended Plaintiff’s Profile

  Form (“PPF”) Order, a Plaintiff Profile Form, core records, and signed medical records

  authorization were required to be served upon Defendants via MDL Centrality by a certain date.

  Unfortunately, Plaintiff Geraldine Kelly died during the pendency of the second bankruptcy, and

  a new executor had to be appointed to act in her stead. Executor Travis Kelly was appointed and

  completed the Plaintiff Profile Form, which was served via MDL Centrality on April 15, 2024. An




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  Amended Short Form Complaint was filed on April 16, 2024. As such, Plaintiff respectfully

  requests that the Court not dismiss the case with prejudice.

  Dated: April 16, 2025                 Respectfully submitted,

                                               /s/ Sara Beth Craig
                                               Sara Beth Craig
                                               PEIFFER WOLF CARR KANE CONWAY &
                                               WISE LLP
                                               555 Montgomery Street, Suite 820
                                               San Francisco, CA 94111
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                                 CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was electronically filed through the Court’s

  CM/ECF system on April 16, 2025, which shall send notification of such filing to all CM/ECF

  participants.

                                              /s/ Sara Beth Craig
                                              Sara Beth Craigr




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